

First Specialty Ins. Corp. v JRK Prop. Holdings, Inc. (2025 NY Slip Op 02004)





First Specialty Ins. Corp. v JRK Prop. Holdings, Inc.


2025 NY Slip Op 02004


Decided on April 03, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 03, 2025

Before: Renwick, P.J., Gesmer, Shulman, Rosado, O'Neill Levy, JJ. 


Index No. 650671/22|Appeal No. 3844|Case No. 2023-02251|

[*1]First Specialty Insurance Corporation, Plaintiff-Respondent,
vJRK Property Holdings, Inc., Defendant-Appellant.





An appeal having been taken to this Court by the above-named appellant from an order of the Supreme Court, New York County (Jennifer G. Schecter, J.), entered on April 8, 2023,
And said appeal having been argued by counsel for the respective parties; and due deliberation having been had thereon, and upon the stipulation of the parties hereto dated March 21, 2025,
It is unanimously ordered that said appeal be and the same is hereby withdrawn in accordance with the terms of the aforesaid stipulation.
ENTERED: April 3, 2025








